Case 2:03-cr-20102-SH|\/| Document 44 Filed 06/13/05 Page 1 of 2 Page|D 50
IN THE UNITED sTATEs DISTRICT coURT F“'ED 3 '="JL""~‘ D'C‘
FoR THE wESTERN DISTRICT oF TENNESSEE

wEsTERN DIVISION 05 JUH !3 PM S= 38
sosna s ") ’“::sos]o

ho r»c-s\r I' K:L }r"*?L’\T
\JL-.l_ ll \'-

WD OF T?;, ME?!"PH¥S
UNITED STATES OF AMERICA,

Plaintiff,
CR. NO. 03-20102-Ma

VS.

SHYRETTE JOHNSON,

-_¢\-._r-._,~._/-_/~_/-_z-._/~_,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDA.BLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
Counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case and to allow for
the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning July 5, 2005 at 9:30 a.m., with a
report date of Friday, June 24, 2005 at 2:00 p.m.

The period, from, May' 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. §§ Blél(h)(B)(B}(iv) and 316l(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

15}4\

IT IS SO ORDERED this day of June, 2005.

l . SAMUEL H. MAYS, JR.
T'nls document entered on the docket hamlin ':_.;_u€.'zpi\a:'\ce UNITED STATES DISTRICT JUDGE
with f~`iu[e 55 and/or 32(b) FRCrP on

 

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CR-20102 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

